          Case 1:19-cv-03581-FYP Document 9 Filed 02/09/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA ex rel.
 PAUL TERRION and JODY EBERHART,
 and on behalf of the STATES of
 CALIFORNIA, DELAWARE, FLORIDA,
 HAWAII, ILLINOIS, INDIANA, IOWA,
 MINNESOTA, MONTANA, NEVADA, NEW
 JERSEY, NEW MEXICO, NEW YORK,
 NORTH CAROLINA, OKLAHOMA,
 RHODE ISLAND, TENNESSEE,
 VERMONT, the Commonwealth of
 MASSACHUSETTS, the Commonwealth of
 VIRGINIA, the Commonwealth of PUERTO
 RICO, the DISTRICT OF COLUMBIA, the
 City of CHICAGO, the City of
 HALLANDALE BEACH, BROWARD
 COUNTY, and MIAMI-DADE COUNTY,

                Plaintiffs,

        v.                                            Civil Action No. 19-3581 (FYP)

 POINT BLANK ENTERPRISES, INC., et al.,

                Defendants.



                                            ORDER

       This matter comes before the Court on the United States’ [8] Notice of Election to

Decline Intervention. The United States having declined to intervene in this action pursuant to

the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), it is hereby

ORDERED that

   1. The complaint be unsealed and served upon the Defendants by the Relators;

   2. All other contents of the Court’s file in this action remain under seal and not be made

       public or served upon the Defendants, except for this Order and the Government’s Notice
          Case 1:19-cv-03581-FYP Document 9 Filed 02/09/22 Page 2 of 2




      of Election to Decline Intervention, which the Relators will serve upon the Defendants

      only after service of the Complaint;

   3. The seal be lifted as to all other matters occurring in this action after the date of this

      Order;

   4. The parties shall serve all pleadings and motions filed in this action, including supporting

      memoranda, upon the United States, as provided for in 31 U.S.C. § 3730(c)(3). The

      United States may order any deposition transcripts and is entitled to intervene in this

      action, for good cause, at any time;

   5. The parties shall serve all notices of appeal upon the United States;

   6. All orders of this Court shall be sent to the United States; and that

   7. Should the relators or the defendants propose that this action be dismissed, settled, or

      otherwise discontinued, the Court will solicit the written consent of the United States

      before ruling or granting its approval.

      SO ORDERED.



                                                      ____________________________
                                                      FLORENCE Y. PAN
                                                      United States District Judge

Date: February 9, 2022
